         Case 4:14-cr-00067-SWW Document 3 Filed 04/15/14 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

VS.                              NO. 4:14CR00067-02-SWW

ANNIE WATKINS                                                              DEFENDANT

                                         ORDER

       The United States Probation Office has informed the Court that Defendant Annie

Watkins is scheduled for surgical procedures on April 16, 2014, for treatment of

significant medical conditions. In order to allow time for recovery, the Court will

continue plea and arraignment until June 12, 2014, at 10:00 a.m. before Magistrate Judge

Jerome Kearney.

       The Court has reviewed Ms. Watkins’s financial affidavit and concludes that she

qualifies for appointment of counsel under the Criminal Justice Act. Lea Ellen Fowler is

appointed to represent Ms. Watkins.

       IT IS SO ORDERED this 15th day of April, 2014.




                                          UNITED STATES MAGISTRATE JUDGE
